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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     DAVID A. STEBBINS,                                 Case No. 22-cv-00546-JSW
                                                        Plaintiff,
                                   8
                                                                                            ORDER LIFTING STAY, SCREENING
                                                 v.                                         SECOND AMENDED COMPLAINT,
                                   9
                                                                                            AND DISMISSING CASE IN PART
                                  10     EMILY REBOLO, et al.,
                                                                                            Re: Dkt. Nos. 32, 34, 35
                                                        Defendants.
                                  11

                                  12
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                                  13          On April 23, 2023, the Court issued an order staying this case pending resolution of the

                                  14   appeal in Stebbins v. Polano, 4:21-cv-4184-JSW (the “Related Case”). (See Dkt. No. 33.) On

                                  15   August 28, 2024, the Ninth Circuit issued an order affirming dismissal of the Related Case. (Dkt.

                                  16   No. 35.) Now that the Related Case is resolved, the Court HEREBY LIFTS THE STAY.

                                  17          With the stay lifted, and because Plaintiff David A. Stebbins (“Plaintiff”) seeks to proceed

                                  18   in forma pauperis, the Court screens Plaintiff’s Second Amended Complaint (“SAC”) under 28

                                  19   U.S.C. section 1915. (See Dkt. Nos. 8, 20.)

                                  20                                            BACKGROUND

                                  21   A.     Procedural History.
                                  22          The Court previously dismissed Plaintiff’s First Amended Complaint (“FAC”) for failure

                                  23   to state a claim with prejudice. (Dkt. No. 20.) In the order of dismissal, the Court held that claims

                                  24   based on Plaintiff’s April 10, 2021 livestream failed for lack of creativity and human authorship.

                                  25   (Id. at 2:23-28.) The Court similarly found that the 2D images lacked sufficient “creativity in the

                                  26   arrangement and selection of the hexagons to qualify for copyright protection,” and thus dismissed

                                  27   those claims as well. (Id. at 3:12-14.) Finally, the Court determined that Plaintiff failed to allege

                                  28   ownership of the additional livestreams, failed to show creativity, and offered only vague and
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                                   1   conclusory allegations of copying. (Id. at 4:5-10.)

                                   2          Plaintiff moved to reconsider, and the Court granted the motion, in part. (Dkt. No. 30.)

                                   3   The Court permitted Plaintiff an additional opportunity to cure the defects in his pleading given

                                   4   the latitude appropriate for pro se litigants. (Id.) The Court granted leave amend only his

                                   5   infringement claims based on the 2D images and his claims based on alleged copying of

                                   6   livestream videos other than the April 10, 2021 video. (Id. at 3:21-25.) The Court did not grant

                                   7   Plaintiff leave to add new claims or new defendants. (Id. at 3:25-26.)

                                   8   B.     Allegations in the SAC.
                                   9          Plaintiff is “a Youtube channel owner and a Twitch streamer who operates under the

                                  10   pseudonym ‘Acerthorn.’ ” (Dkt. No. 32, SAC, ¶ 1.)

                                  11          Plaintiff contends that Defendants Emily Rebolo, Trystan Burge, Karl Polano, Alphabet

                                  12   Inc., Youtube LLC, Discord Inc., Twitch Interactive Inc., and five individual John Does going by
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                                  13   “Creetosis,” “Viroza,” “Sidalpha,” “Bibi Faizi,” and “Rogue, Internet Man” infringed his

                                  14   copyrightable works in violation of federal law.

                                  15          Plaintiff’s allegedly copyrightable works include five videos and ten 2D images:

                                  16          (1) An October 13, 2019 video critiquing the Bethesda Softworks game “Fallout: New

                                  17              Vegas Retrospective.” (Id. ¶ 34.) Plaintiff registered the video with the United States

                                  18              Copyright Office (“USCO”) more than three months after publication. (Id. ¶ 38.)

                                  19          (2) An April 10, 2021 livestream where Plaintiff accidentally filmed himself in his

                                  20              apartment for 1 hour and 43 minutes. (Id. ¶ 19.) Plaintiff registered this video with the

                                  21              USCO and uploaded it to his Youtube channel, restricting access to only paying

                                  22              viewers. (Id. ¶ 24.)

                                  23          (3) An April 18, 2021 Twitch livestream video co-authored with Defendant Polano. (Id. ¶

                                  24              25.) Plaintiff “do[es] not wish” to share the video with the Court, but he alleges that

                                  25              the video “has minimal creativity because [he] repeatedly cracked jokes, made

                                  26              wisecracks, and displayed [his] personality and charisma for the audience’s

                                  27              entertainment.” (Id. ¶ 27.)

                                  28          (4) A November 24, 2021 YouTube video announcing the end of a “Corrections” series on
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                                   1              Plaintiff’s Youtube account. (Id. ¶ 30.) The video, which is less than a minute long,

                                   2              cuts together a number of short videos of angry people and posts or comments from

                                   3              Plaintiff’s Youtube channel. (Id. ¶ 31.)

                                   4          (5) A December 18, 2021 livestream debate between Acerthorn and guest “Skibbidy

                                   5              Dibbity” regarding “Fallout: New Vegas,” posted on Plaintiff’s Youtube channel. (Id.

                                   6              ¶ 39.) Plaintiff contends that his opinions, word choices, and inflection are creative.

                                   7              (Id. ¶ 42.)

                                   8          (6) Ten 2D images “comprised predominately of a blue honeycomb background with text

                                   9              overlaying it.” (Id. ¶ 46.) The honeycomb is comprised of hexagons which are spaced

                                  10              out, with a blue gradient between “Polynesian” and “periwinkle” filling the space

                                  11              between the hexagons. (Id.) Plaintiff applied a “fish-eye filter” to one of the 2D

                                  12              images, the “Acerthorn Channel Icon.” (Id. ¶ 48.) The USCO refused to register the
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                                  13              2D designs for lack of sufficient creativity. (Id. ¶ 50.)

                                  14          Plaintiff further alleges that Defendants issued fraudulent takedown notices to attempt to

                                  15   block access to Plaintiff’s YouTube channel, and that YouTube, Twitch, and Discord failed to

                                  16   comply with requirements to protect Plaintiff’s works.

                                  17          Finally, Plaintiff contends that Shira Perlmutter, the Register of Copyrights with the

                                  18   USCO, wrongfully withheld copyright registrations for certain of Plaintiff’s works which he

                                  19   contends contain minimum creativity. (Id. ¶ 52.)

                                  20                                                ANALYSIS

                                  21   A.     Applicable Legal Standards.
                                  22          Section 1915(e)(2)(B) provides that the Court “shall” dismiss the case if it determines that

                                  23   “the action or appeal (i) is frivolous or malicious; (ii) fails to state a claim upon which relief may

                                  24   be granted; or (iii) seeks monetary relief against a defendant who is immune from such relief.” 28

                                  25   U.S.C. § 1915(e)(2)(B). This section parallels the language of Federal Rule of Civil Procedure

                                  26   12(b)(6) regarding dismissal for failure to state a claim, and thus courts apply a parallel standard

                                  27   when screening complaints. See Lopez v. Smith, 203 F.3d 1122, 1126-30 (9th Cir. 2000)

                                  28   (discussing meaning of “fails to state a claim” under Section 1915(e)(2)(B)(ii)). The complaint
                                                                                          3
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                                   1   therefore must allege facts that plausibly establish each defendant’s liability. Bell Atl. Corp. v.

                                   2   Twombly, 550 U.S. 544, 555-57 (2007).

                                   3   B.      Plaintiff Fails to State a Claim for Copyright Infringement for Most of His Works.
                                   4           “To establish to establish infringement of a copyright, two elements must be proven: (1)

                                   5   ownership of a valid copyright, and (2) copying of constituent elements of the work that are

                                   6   original.” Feist Publications, Inc. v. Rural Tel. Serv., Co., 499 U.S. 340, 361 (1991). To be

                                   7   copyrightable, the work must “possess[] at least some minimal degree of creativity.” Id. at 345.

                                   8   Registration of a copyright with the USCO is a prerequisite for a civil action for infringement.

                                   9   Unicolors, Inc. v. H&M Hennes & Mauritz, L.P., 595 U.S. 178, 181 (2022).

                                  10           Registration typically constitutes “prima facie evidence of the validity of the copyright,”

                                  11   but the presumption of validity may be rebutted by “some evidence or proof to dispute or deny the

                                  12   plaintiff’s prima facie case of infringement.” United Fabrics Intern., Inc. v. C&J Wear, Inc., 630
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                                  13   F.3d 1255, 1257 (9th Cir. 2011) (quoting 17 U.S.C. § 410(c) and Lamps Plus, Inc. v. Seattle

                                  14   Lighting Fixture Co., 345 F.3d 1140, 1144 (9th Cir. 2003)). Here, the Court previously

                                  15   determined that Plaintiff is not entitled to the presumption of validity for his copyrighted works

                                  16   because he did not disclose the true nature and circumstances of the April 10, 2021 livestream to

                                  17   the USCO. (See Dkt. No. 20, at 3:24-4:4; Related Case, Dkt. No. 158, at 6:21-7:10.)

                                  18           1.      The April 10, 2021 Livestream Is Not Protectable.
                                  19           Plaintiff concedes that the Court did not grant leave to amend his claims regarding the

                                  20   April 10, 2021 livestream, but he nevertheless includes allegations relating to the livestream to

                                  21   preserve the issue. (See SAC at 5 n.1.) For the avoidance of doubt, the Court dismisses the claims

                                  22   relating to this livestream for the reasons set forth in Dkt. No. 20, at 2.

                                  23           2.      Plaintiff Fails to Allege the 2D Images Merit Copyright Protection.
                                  24           Plaintiff’s allegations regarding the 2D images are nearly identical between the FAC and

                                  25   SAC. (See Dkt. No. 15, FAC, ¶¶ 33-39; SAC ¶¶ 44-52.) Plaintiff adds two new allegations to

                                  26   attempt to demonstrate creative spark: (1) his “choices of the various shades of blue, as well as

                                  27   [his] choice to have the hexagons all be separated from one another, are all creative choices that

                                  28   [he] made”; and (2) an attorney told Plaintiff that his artwork contains minimal creativity. (SAC
                                                                                           4
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                                   1   ¶¶ 49, 51.) Neither of these additions cure the defects noted in the Court’s order dismissing the

                                   2   FAC because they are legal conclusions or opinions. The factual allegations regarding the 2D

                                   3   images remain unchanged: Plaintiff made a pattern of recurring hexagons, spaced slightly apart,

                                   4   with blue gradient in between.

                                   5          As the USCO found, copyright protection is unavailable for basic geometric shapes, and

                                   6   the particular arrangement of Plaintiff’s shapes does not merit protection. See Satava v. Lowry,

                                   7   323 F.3d 805, 811 (9th Cir. 2003) (holding “that a combination of unprotectable elements is

                                   8   eligible for copyright protection only if those elements are numerous enough and their selection

                                   9   and arrangement original enough that their combination constitutes an original work of

                                  10   authorship.”). The 2D images lack sufficient creativity, and they are not protected by copyright

                                  11   law.

                                  12          Because the 2D images do not warrant protection, injunctive relief against Defendant
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                                  13   Perlmutter is unavailable. The claims against Perlmutter are dismissed, with prejudice.

                                  14          3.      Plaintiff Fails to Allege the April 18, 2021 Livestream Merits Protection.
                                  15          Plaintiff contends that this livestream merits copyright protection because he “repeatedly

                                  16   cracked jokes, made wisecracks, and displayed [his] personality and charisma for the audience’s

                                  17   entertainment.” (SAC ¶ 27.) Plaintiff does not provide any other information regarding the

                                  18   content of this livestream, but he links to other videos that purportedly demonstrate “the kind of

                                  19   jokes, wisecracks, and personality that was on display in this stream.” (Id.) These allegations do

                                  20   not provide any well-pleaded facts to support an inference of creativity or originality in the April

                                  21   18, 2021 livestream, which is a wholly different recording. Accordingly, the April 18, 2021

                                  22   livestream does not merit copyright protection.

                                  23          4.      Defendant Burge’s Copying of the November 24, 2021 Video Was Fair Use.
                                  24          Plaintiff contends that Burge infringed the November 24, 2021 video, “Corrections Series

                                  25   is [sic] Canceled, and Here’s Why” by reproducing a “portion” of the video in a subsequent

                                  26   critique. (SAC ¶ 167.) Burge’s video, “The problems with Acerthorn,” allegedly “used the ‘heart’

                                  27   ” of Acerthorn’s November 24, 2021 work when “discussing [Burge’s] frustrations with

                                  28   [Plaintiff].” (Id. ¶¶ 166-67.) Plaintiff acknowledges that criticism may be protected by fair use
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                                   1   but argues that Burge is not shielded here.

                                   2            “Fair use” of a copyrighted work “for purposes such as criticism. . . is not an infringement

                                   3   of copyright.” 17 U.S.C. § 107. Four factors guide the fair use inquiry: (1) “the purpose and

                                   4   character of the use, including whether such use is of a commercial nature or is for nonprofit

                                   5   educational purposes; (2) the nature of the copyrighted work; (3) the amount and substantiality of

                                   6   the portion used in relation to the copyrighted work as a whole; and (4) the effect of the use upon

                                   7   the potential market for or value of the copyrighted work.” Id. Courts “do not consider these

                                   8   factors in isolation, but weigh them together, in light of the copyright law’s purpose ‘to promote

                                   9   the progress of science and art by protecting artistic and scientific works while encouraging the

                                  10   development and evolution of new works.’ ” Leadsinger, Inc. v. BMG Music Pub., 512 F.3d 522,

                                  11   529 (9th Cir. 2008) (quoting Mattel, Inc. v. Walking Mountain Prods., 353 F.3d 792, 799-800 (9th

                                  12   Cir. 2003)).
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                                  13            The first factor weighs strongly in favor of fair use. Burge plainly used Plaintiff’s content

                                  14   for criticism purposes. Burge titled his video, “The problems with Acerthorn,” and he used a

                                  15   portion of Plaintiff’s November 24, 2021 video to illustrate his problems with Plaintiff’s

                                  16   corrections videos. Plaintiff admits, albeit with qualifications, that Burge criticizes the video he

                                  17   copied. (SAC ¶ 167.) This critical purpose reduces the relevance of the commercial versus

                                  18   informational inquiry. See Campbell v. Acuff-Rose Music, Inc., 510 U.S. 569, 579, 114 S. Ct.

                                  19   1164, 1171, 127 L. Ed. 2d 500 (1994) (noting “the more transformative the new work, the less will

                                  20   be the significance of other factors, like commercialism, that may weigh against a finding of fair

                                  21   use”).

                                  22            The second factor also weighs in favor of fair use. Plaintiff admits that the video does not

                                  23   have “much creativity” due to its short length. (See SAC ¶¶ 31, 32, 239.) Plaintiff argues that the

                                  24   video nevertheless is creative due to his video editing and pronouncing words in a “snarky tone.”

                                  25   (Id. ¶ 31.) The primary purpose of this work, however, is informational, not expressive. The

                                  26   video serves to explain “why” Plaintiff discontinued his “Corrections” series of YouTube videos.

                                  27   Works that are informational in nature merit thin copyright protection. See Kelly v. Arriba Soft

                                  28   Corp., 336 F.3d 811, 820 (9th Cir. 2003) (holding “Works that are creative in nature are closer to
                                                                                          6
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                                   1   the core of intended copyright protection than are more fact-based works”) (quoting A&M Recs.,

                                   2   Inc. v. Napster, Inc., 239 F.3d 1004, 1016 (9th Cir. 2001)).

                                   3           Plaintiff’s chief complaint with Burge’s video appears to relate to the third fair use factor,

                                   4   the amount and substantiality of the portion used. Plaintiff asserts that Burge could have critiqued

                                   5   Plaintiff’s works without using any portions of Plaintiff’s video. Plaintiff analogizes to Monge v.

                                   6   Maya Magazines, Inc., 688 F.3d 1164 (9th Cir. 2012). In that case, a celebrity couple married in

                                   7   secret and took photos of the wedding and wedding night for their personal use. Id. at 1169. A

                                   8   gossip magazine obtained and published six of the photos with minimal or no alterations. Id. at

                                   9   1170, 1176. In finding that the publication did not constitute “fair use,” the Ninth Circuit

                                  10   observed that the magazine “used far more than was necessary to corroborate its story” by

                                  11   publishing almost all of the wedding-related images to show that the couple was in fact married.

                                  12   Id. at 1179. Unprotected works, or fewer images, would have conveyed the same message. Id.
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                                  13           In this case, Plaintiff alleges that Burge criticizes the “specific video” which he allegedly

                                  14   infringed. (See SAC ¶ 167.) Unlike in Monge, there is no substitute for the allegedly protectable

                                  15   content to convey the same message. See Monge, 688 F.3d at 1179 (suggesting magazine could

                                  16   have used marriage certificate or one photo instead of nearly all photos). Plaintiff’s allegations

                                  17   further differ from the facts in Monge because Burge used only a “portion” of the November 24

                                  18   work, whereas in Monge the magazine reproduced all or nearly all of the wedding photos in their

                                  19   entirety. See id.; (SAC ¶ 167.) Monge does not assist Plaintiff. The Court accordingly finds that

                                  20   the third factor only slightly favors Plaintiff or is neutral.

                                  21           The fourth factor, the effect of the use upon the potential market for or value of the

                                  22   copyrighted work, weighs in favor of fair use due to the critical nature of Burge’s video. Although

                                  23   Plaintiff offers the legal conclusion that Burge’s video could serve as a “market replacement” for

                                  24   Plaintiff’s own, (SAC ¶ 167), Plaintiff’s allegations regarding the nature of Burge’s work make

                                  25   clear that Burge’s video is highly transformative and does not replace Plaintiff’s. See Kelly, 336

                                  26   F.3d at 821 (holding “[a] transformative work is less likely to have an adverse impact on the

                                  27   market of the original than a work that merely supersedes the copyrighted work.”)

                                  28           The fair use by Burge of Plaintiff’s November 24, 2021 work is apparent from the face of
                                                                                            7
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                                   1   the SAC. The Court thus dismisses this claim with prejudice.

                                   2            5.      The SAC Fails to Allege Infringement of the December 18, 2021 Livestream.

                                   3            Plaintiff contends Defendant Rebolo infringed the December 18, 2021 livestream by

                                   4   distributing a recording thereof. (SAC ¶ 149.) Plaintiff also argues that Rebolo improperly used a

                                   5   “clip” from the December 18, 2021 livestream in a video on Rebolo’s Youtube channel on January

                                   6   17, 2021. 1 (Id. ¶ 150.)

                                   7                    a.     The SAC Does Not Satisfy Rule 8 with Regard to Sharing Allegations.
                                   8            Plaintiff alleges that Rebolo downloaded or recorded the December 18, 2021 livestream

                                   9   and “proceeded to share this copy across various websites such as Discord.” (Id. ¶ 149.) Plaintiff

                                  10   provides no information regarding the timing of this alleged infringement; the alleged recipients;

                                  11   or whether Rebolo distributed a portion or the entirety of the video, which is more than seven

                                  12   hours long. Plaintiff speculates that Rebolo shared the video beyond houseguests in her home.
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                                  13   (Id.) This allegation is pure speculation, implausible, and does not contain enough information to

                                  14   put Rebolo on notice of the nature of the claims against her. Because this is Plaintiff’s third

                                  15   attempt to plead, the Court dismisses this claim with prejudice.

                                  16                    b.     Rebolo’s Use of the Clip in a Subsequent Video Is Fair Use.
                                  17            The Court dismisses claims of infringement relating to Rebolo’s use of a clip of the

                                  18   December 18, 2021 livestream for failure to state a claim. Rebolo’s copying is protected by the

                                  19   fair use doctrine.

                                  20            Much like Burge, Rebolo used a snippet of Plaintiff’s work for the purpose of criticizing

                                  21   Plaintiff. Criticism is inherently transformative, and thus the first fair use factor weighs heavily in

                                  22   Rebolo’s favor. Moreover, Plaintiff does not allege that Rebolo’s use was commercial in nature.

                                  23            The second fair use factor, nature of the copyrighted content, also weighs in Rebolo’s

                                  24   favor. Plaintiff alleges that in the infringed portion of his video Plaintiff “explain[s] that

                                  25   [Plaintiff] was giving preferential treatment to [his] monetary supporters over those who are

                                  26   watching [his] videos for free.” (Id.) This is not creative content; it is purely informational. See

                                  27

                                  28   1
                                           The Court assumes this out-of-sequence date is a typographical error.
                                                                                         8
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                                   1   SOFA Ent., Inc. v. Dodger Prods., Inc., 709 F.3d 1273, 1279 (9th Cir. 2013) (finding a “clip [that]

                                   2   conveys mainly factual information” to be farther from “the core of intended copyright

                                   3   protection”) (quoting Campbell, 510 U.S. at 586).

                                   4           The third fair use factor, amount and substantiality of the portion used, also favors Rebolo.

                                   5   Plaintiff alleges Rebolo infringes a video over seven hours in length by using a “clip” thereof.

                                   6   (See SAC ¶¶ 42, 150.) The clip used appears to be a brief aside wherein Plaintiff states he favors

                                   7   his paying subscribers, while Plaintiff’s purpose in creating the video was to debate the merits of

                                   8   Fallout: New Vegas with Skibbidy Dibbity. (Id. ¶ 42.) One brief, off-topic remark in a seven-plus

                                   9   hours long video is insubstantial.

                                  10           The fourth and final fair use factor, effect upon the original’s market or value, likewise

                                  11   weighs in Rebolo’s favor. One clip is not a market replacement for a debate, and the clip does not

                                  12   focus on the debate topic. All four factors weigh in Rebolo’s favor, and the Court finds that she is
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                                  13   not liable for using the clip.

                                  14           Because Rebolo’s use is protected, YouTube is protected by the DMCA’s safe harbor for

                                  15   its decision to reinstate Rebolo’s video.

                                  16   C.      Plaintiff Adequately Alleges Creetosis Infringed the October 13, 2019 Video.
                                  17           Although it is a close call, the Court finds that Plaintiff adequately alleges ownership of the

                                  18   October 13, 2019 work. Plaintiff admits that he uses art and video that belong to Bethesda

                                  19   Softworks, but he argues that his copying was transformative due to his edits and commentary.

                                  20   (SAC ¶ 34.)

                                  21           Plaintiff contends Creetosis infringed the October 13, 2019 video by livestreaming himself

                                  22   watching Plaintiff’s video and reacting to it. (Id. ¶ 171.) Creetosis paused Plaintiff’s video to give

                                  23   commentary, meaning that the entirety of Plaintiff’s work was replicated without modification and

                                  24   could serve as a market substitute. (Id. ¶ 184.) Plaintiff sufficiently alleges that Creetosis

                                  25   unlawfully copied Plaintiff’s work. 2

                                  26           Plaintiff alleges YouTube declined to take down Creetosis’ videos following DMCA

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                                       2
                                  28     The Court does not hold that Creetosis’s work is not protected by the fair use defense, but merely
                                       that the defense is not obvious from the face of the SAC.
                                                                                         9
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                                   1   takedown notices from Plaintiff. (Id. ¶ 172.) Plaintiff thus adequately alleges that YouTube lost

                                   2   its safe harbor with regard to Creetosis’s video.

                                   3          The Court will permit this claim to proceed.

                                   4   D.     Plaintiff States a Claim for DMCA Misrepresentation.
                                   5          The Digital Millenium Copyright Act of 1998 (“DMCA”) provides a mechanism for

                                   6   copyright owners to enforce their rights online. 17 U.S.C. § 512. A copyright holder may issue a

                                   7   “takedown notice” requiring an online service provider to remove infringing content. Id. §

                                   8   512(c)(1)(C). The copyright holder must include, among other things, “[a] statement that the

                                   9   complaining party has a good faith belief that use of the material in the manner complained of is

                                  10   not authorized” and “that the information in the notification is accurate, and under penalty of

                                  11   perjury, that the complaining party is authorized to act on behalf of the owner of an exclusive right

                                  12   that is allegedly infringed.” Id. § 512(c)(3)(A)(v)-(vi). Upon receipt of a takedown notice, online
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                                  13   service providers are shielded from copyright liability if they “expeditiously” remove or disable

                                  14   access to the allegedly infringing material. Id. § 512(c)(1)(C).

                                  15          The DMCA curtails potential abuse of the takedown system by providing for “counter

                                  16   notifications” and liability for false takedowns. Id. § 512(g)(3). A subscriber who believes its

                                  17   content was improperly removed following a DMCA takedown notice may respond with “[a]

                                  18   statement under penalty of perjury that the subscriber has a good faith belief that the material was

                                  19   removed or disabled as a result of mistake or misidentification.” Id. § 512(g)(3)(C). The online

                                  20   service provider must then “replace the removed material or cease disabling access to it” within

                                  21   ten to fourteen business days. Id. § 512(g)(2)(C). Further, any person who “knowingly” and

                                  22   “materially misrepresents” information in either a takedown notice or a counter notice “shall be

                                  23   liable for any damages, including costs and attorneys’ fees, incurred by the alleged infringer. . . as

                                  24   the result of the service provider relying upon such misrepresentation in removing or disabling

                                  25   access to the material.” 17 U.S.C. § 512(f). “Any damages” includes nominal damages. Lenz v.

                                  26   Universal Music Corp., 815 F.3d 1145, 1156 (9th Cir. 2016). A plaintiff pursuing a DMCA

                                  27   misrepresentation claim must demonstrate “some actual knowledge of misrepresentation” by the

                                  28   defendant. Rossi v. Motion Picture Ass’n of Am. Inc., 391 F.3d 1000, 1005 (9th Cir. 2004).
                                                                                           10
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                                   1          Here, Plaintiff alleges that Bibi Faizi knowingly submitted fraudulent takedown notices for

                                   2   ten of Plaintiff’s videos one day after SidAlpha published a video attacking Plaintiff. (SAC ¶¶

                                   3   231, 234.) The content of the videos was owned by Plaintiff, in the public domain, or owned by

                                   4   known third parties such that Bibi Faizi could not have mistakenly believed that the videos

                                   5   infringed his protected material. (Id. ¶ 234.) Plaintiff successfully submitted counter

                                   6   notifications, but the videos were unavailable and Plaintiff’s channel was locked for seventeen

                                   7   days. (Id. ¶ 286.)

                                   8   E.     Admonition Regarding Civility.
                                   9          In permitting certain of Plaintiff’s claims to progress, the Court cautions that it does not

                                  10   condone Plaintiff’s schoolyard taunts or his blatant hostility to the Court or the Defendants. (See,

                                  11   e.g., SAC ¶ 181 (referring to Creetosis as “His Majesty”); id. ¶ 271 (describing Defendants as

                                  12   “extremely narrow-minded, extremely self-entitled”).) Should Plaintiff continue to use derogatory
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                                  13   or abusive language, the Court will dismiss the action with prejudice.

                                  14                                                CONCLUSION

                                  15          For the foregoing reasons, the Court dismisses the action in part, as follows:

                                  16          1.        The claims against Emily Rebolo, Shira Perlmutter, Tristan Burge, John Doe #2

                                  17   d/b/a “Viroza,” John Doe #3 d/b/a “SidAlpha,” John Doe #5 d/b/a “Rogue, Internet Man,” Twitch

                                  18   Interactive Inc., and Discord Inc. are dismissed in their entirety, with prejudice;

                                  19          2.        Plaintiff’s claim against John Doe #1 d/b/a “Creetosis” and YouTube for infringing

                                  20   Plaintiff’s October 13, 2019 video may proceed;

                                  21          3.        Plaintiff’s claim against Bibi Faizi for DMCA misrepresentation may proceed;

                                  22          4.        Further lack of civility will result in dismissal of the action in its entirety, with

                                  23   prejudice; and

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                                   1          5.     Plaintiff may file a further amended complaint regarding only his remaining claims

                                   2   within twenty-one (21) days of this Order. Plaintiff may not add or revive claims or defendants

                                   3   without leave of Court.

                                   4          IT IS SO ORDERED.

                                   5   Dated: December 4, 2024

                                   6                                                  ______________________________________
                                                                                      JEFFREY S. WHITE
                                   7                                                  United States District Judge
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Northern District of California
 United States District Court




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